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7
                        UNITED STATES DISTRICT COURT
8
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
9
      ANN FOX, INDIVIDUALLY AND   ) Case No. 2:14-cv-02626-GHK-JCG
10    ON BEHALF OF ALL OTHERS     )
      SIMILARLY SITUATED,
11                                ) NOTICE OF VOLUNTARY
12
                Plaintiff,        ) DISMISSAL WITHOUT
                      v.          ) PREJUDICE
13
                                  )
       ST
14    1 CALL CONSULTANTS, L.L.C., )
                                  )
15            Defendant.          )
16                                )
17
          NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
18
      Civil Procedure 41(a)(1), hereby voluntarily dismisses the entire case without
19
      prejudice. Defendant has neither answered Plaintiff’s Complaint, nor filed a
20

21    motion for summary judgment. Accordingly, this matter may be dismissed without
22
      prejudice and without an Order of the Court.
23

24          RESPECTFULLY SUBMITTED this 7th day of August, 2014.
25
                               By:    s/Todd M. Friedman
26                                    Todd M. Friedman, Esq.
27
                                      Law Offices of Todd M. Friedman, P.C.
                                      Attorney for Plaintiff
28




                                        Notice of Dismissal - 1
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1     Filed electronically on this 7th day of August, 2014, with:
2
      United States District Court CM/ECF system
3

4     And hereby served upon all parties
5
      Notification sent on this 7th day of August, 2014, via the ECF system to:
6

7     Judge of the United States District Court
      Central District of California
8

9
      By: s/Todd M. Friedman
10
          Todd M. Friedman
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                                        Notice of Dismissal - 2
